                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

  L.H., a Minor Student,     )
  by and through his parents G.H. and
                             )
  D.H.and G.H. and D.H., individually,
                             )
                             )
                Plaintiffs   )                  Case No. 1:14-cv-00126-CLC-SKL
                             )
  vs.                        )                  Judge Curtis L. Collier
                             )
  HAMILTON COUNTY DEPARTMENT )                  JURY DEMAND
  OF EDUCATION,              )
                             )
  and,                       )
                             )
  TENNESSEE DEPARTMENT OF    )
  EDUCATION                  )
                             )
                Defendant    )


  ______________________________________________________________________________

                         FIRST AMENDED COMPLAINT
       ____________________________________________________________________

        COME NOW, THE PLAINTIFFS, by and through counsel, and file this

  Complaint and Petition for Judicial Review. They respectfully show:

                                 I.      INTRODUCTION

  1.    This case involves the illegal segregation of a high functioning child with

  Down syndrome from his regular classroom and neighborhood school (Normal Park

  Museum Magnet) to a vastly inferior and educationally inappropriate environment

  (a “Comprehensive Development Class” also known as “CDC” at Red Bank

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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 1 of 35 PageID #: 216
  Elementary). Whereas the former is a nationally touted public school where the

  parents built a home, the CDC environment at Red Bank does not utilize report

  cards, does not require homework, and its mission is to help children “function

  when they age out of the system.”

  2.    L.H. is the first (and only) child with Down syndrome, an Intellectual

  Disability,1 to seek inclusion in the regular education classroom at Hamilton

  County’s Normal Park Museum Magnet (“NPMM”) school in Chattanooga,

  Tennessee. NPMM advertises itself as being “America’s #1 Magnet School” and it

  features enriching activities that are particularly beneficial to a child with Down

  syndrome such as L.H. See http://normalpark.com.

  3.    L.H.’s disability notwithstanding, psychological testing confirmed L.H.

  scored: in Reading, a 96 out of a mean of 100; in broad reading composite, an 82 of

  a mean of 100; in spelling, a 75 of a mean of 100; in writing, a 78 of a mean of 100;

  and, in academic skills, a 76 of a mean of 100. By comparison, in Hamilton County

  elementary schools, only 48.4% of students are reading at or above grade level and

  approximately 37.7% of students are proficient or advanced in mathematics.

  http://www.hcde.org/inside-hcde.    Thus, L.H. is a high functioning child with an

  intellectual disability who can, and must, be included in regular education.

  4.    Unfortunately, Hamilton County Schools places students with Intellectual

  Disabilities in segregated settings outside the regular classroom at almost twice the

  national average (81% of students in HCS versus 48.2% of students nationally). It



  1     “Intellectual Disability” was formerly referenced as “Mental Retardation.”
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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 2 of 35 PageID #: 217
  attempted to do this with L.H., rather than provide him an education in his Least

  Restrictive Environment at NPMM which met his unique educational needs.

  5.    Only 12% of students (a total of 36 students) with Intellectual Disabilities in

  Hamilton County are in the regular education classroom more than 40% (3+ hours)

  of the day.   By comparison, an average of 44.1% of students with Intellectual

  Disabilities are in the regular education classroom more than 40% of the time

  nationally (36.5% in the state of Tennessee).

  6.    This is a necessary action to address the denial of a free appropriate public

  education by the Hamilton County Department of Education (“HCDE”), as it

  demanded the unnecessary segregation of L.H. from his non-disabled peers at

  NPMM to a CDC located at Red Bank Elementary in Chattanooga, Tennessee.

  7.     L.H. enjoys a legal right to be educated with his non-disabled peers—known

  as “inclusion”—through supplemental aids, supports, and modifications instead of

  being segregated to a different school, in a more restrictive environment, in a

  setting known as a Comprehensive Development Class (“CDC”).

  8.    This case also involves the failure by the Tennessee Department of Education

  (the State Educational Agency, or SEA) to (a) properly establish a procedure

  directly with the state to resolve complaints, instead forcing adversarial due process

  as the only means for resolution; (b) monitor, oversee, and train the LEA with

  respect to illegal segregation and denial of FAPE under IDEA; and (c) ensure that

  L.H. is entitled access to the general educational curriculum, with appropriate




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 3 of 35 PageID #: 218
  modifications and supports, aids, and services under the Americans with

  Disabilities Act, with Amendments, and Section 504.

                        II.   PARTIES, JURISDICTION, VENUE

  9.    L.H. is a 10 year old little boy who resides with his parents in Hamilton

  County, Tennessee. He is a citizen of the United States. L.H. is used for reasons of

  privacy, being that L.H. is a minor.

  10.   D.H. and G.H. are the parents of L.H. They reside in Hamilton County,

  Tennessee. They are citizens of the United States.

  11.   The Hamilton County Department of Education is a governmental

  subdivision of the State of Tennessee, duly authorized to administer public schools

  within Hamilton County, including Normal Park Museum Magnet.                 It receives

  federal financial assistance and is a public entity as defined in Title II of the

  Americans with Disabilities Act, and is obligated under Federal and Tennessee law

  to comply with special education laws, which include identifying students eligible

  for special education, providing notices of procedural safeguards, and providing

  them with a free and appropriate public education.

  12.   The Tennessee Department of Education is the “State Education Agency”

  (SEA) which is legally responsible for ensuring that a free appropriate education

  (FAPE) is provided to all students in the state of Tennessee. An “SEA” includes a

  public board of education or other public authority legally constituted within a State

  for either administrative control or direction of , or to perform a service function for,

  public elementary or secondary schools in a city, township, school district, or other



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 4 of 35 PageID #: 219
  political subdivision of a State [.]” 20 U.S.C. §1412(a)(1).        Additionally, the

  Tennessee Department of Education is subject to Title II of the Americans with

  Disabilities Act, with Amendments (ADAAA) and Section 504 of the Rehabilitation

  Act.

  13.        This action is an action for Judicial Review pursuant to Tennessee Code

  Annotated §4-5-322 which states that review of special education deprivation, under

  Tenn. Code Ann. §49-10-101 et. seq., is instituted by filing a petition for review in

  the chancery court of Davidson County. Additionally, this is a Complaint under the

  Individuals with Disabilities Education Act (“IDEA”), 20 U.S.C. 1415(e)(2), and its

  state counterpart, Tenn Comp. R. & Reg § 0520-01-09; Title II of the Americans

  with Disabilities Act, 42 U.S.C. §12101 et. seq.; and Section 504 of the

  Rehabilitation Act of 1973, 29 U.S.C. 794.

  14.        Venue is proper under Tennessee Code Annotated §4-5-322 because judicial

  review must be filed in Davidson County.

      III.    ADMINISTRATIVE EXHAUSTION AND FAILURES OF DUE PROCESS

  15.        On October 29-31, 2013, Plaintiffs2 completed an administrative due process

  hearing in the state of Tennessee challenging HCDE’s decision to remove their

  child, L.H., from inclusion in his neighborhood school at NPMM to a segregated

  CDC at Red Bank Elementary.



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         The parents, D.H. and G.H., acted pro se in representing L.H.’s interests at
  the due process level. Their evidence was inappropriately limited by the hearing
  officer and, in any event, additional evidence may be obtained and presented post-
  due process which Plaintiffs anticipate doing.

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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 5 of 35 PageID #: 220
  16.    During the due process hearing, the hearing officer correctly observed that

  L.H. has Down syndrome, that his IQ of “somewhere around 60” is not necessarily

  reflective of his abilities.

  17.    The hearing officer also correctly observed the strength of L.H.’s social skills

  and that he is “very social, and social interactions are important to him, as are

  friendships,” that he “has good social awareness, acting appropriately in social

  situations.”

  18.    The hearing officer also observed that L.H. “has good language skills for

  interaction with others,” that his “peers enjoy his company, accept him, and provide

  help at times when it is necessary.” The hearing officer correctly found that L.H.’s

  “social skills are well-developed and an asset to him.”

  19.    Additionally, the hearing officer observed that, per a child development

  expert, L.H. is very advanced compared to other children with intellectual

  disabilities.

  20.    Moreover, the hearing officer correctly found that L.H. “has good memory

  skills which have helped him with reading, particularly with recognizing words.”

  21.    Unfortunately, while the hearing officer had an appreciation for L.H.’s

  abilities, the hearing officer plainly did not understand critical legal issues of

  inclusion goals or placement.

  22.    HCDE mistakenly believed, and did submit sworn testimony, that its goal

  was to make L.H., who has an intellectual disability, perform equivalently to a non-

  disabled second grader, as opposed to making meaningful progress toward goals



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 6 of 35 PageID #: 221
  outlined in his IEP. Indeed, HCDE submitted sworn testimony from its educators

  that it was trying to “close the gap between L.H.’s level of performance and the

  rigorous expectations of the second grade regular education curriculum in the

  inclusion setting.”    Thus, by using an impermissibly high standard, HCDE

  impermissibly concluded: “Until L.H. masters these prerequisite skills, expecting

  him to perform at a level of a typical second grader will be futile.”

  23.   By contrast, HCDE did not acknowledge to the hearing officer its own

  standards and in-service training on “Inclusive Education.”             HCDE’s Inclusive

  Education training includes the following statements of principle which simply were

  not observed in this case:

           a. “Every child is welcomed and valued regardless of ability or disability.”

           b. “Inclusive Education is an attitude—it means the doors to schools,

               classrooms and school activities are open to every child and they are

               afforded every opportunity to be included with their non-disabled peers.

               The focus is on giving every child the help s/he needs to learn.”

           c. “Special Education is NOT a place.”

           d. “Students can’t learn general curriculum unless they are in the room

               where it is being taught.”

           e. The IEP team “must decide which and how many general curriculum

               objectives are to be taught.”

           f. The IEP team “must make general curriculum objectives functional and

               meaningful for this student.”



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 7 of 35 PageID #: 222
           g. “Goals may be different [for the disabled student with an IEP] but need

              to be related (like learning to recognize a triangle when others are

              learning the angles in a triangle)”

           h. “It’s not about the place!!! All students must have access to general

              curriculum.”

           i. The “least restrictive environment” … “should put the fewest possible

              restrictions on how much time is spent with kids without disabilities.”

           j. Least Restrictive Environment:        “Starts with the assumption the

              student will be in the general classroom, with supports as needed. If

              that won’t work full time, pull the child out of the general classroom for

              part of the day for therapies or resources.     This should be done as

              seldom as possible. Only if all other options fail should the child be

              separated from the general classroom.”

  24.   Instead of appreciating that goals under an IEP may be different, the hearing

  officer assumed that L.H., who has Down syndrome, must keep pace with his non-

  disabled peers in order to remain at NPMM. This fundamentally misunderstands

  the law, as persons with Down syndrome will necessarily learn differently than

  persons without an Intellectual Disability.

  25.   Alarmingly, the hearing officer also believed that, if kept at NPMM, L.H.

  must be “isolate[ed] in the back of the class where he would work on material that

  none of the other children are working on [which] could work as a sort of exclusion

  within the class.”   By describing L.H.’s inclusion in the regular classroom as a



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 8 of 35 PageID #: 223
  quasi- “exclusion,” the hearing officer errantly compared the outcome of a highly

  segregated CDC classroom at Red Bank Elementary to “the back of the room in a

  one student population,” neither of which is accurate.

  26.   Indeed, the hearing officer observed that, in a CDC class, there was very

  little interaction between students; the students sit at separate tables from non-

  disabled peers; and L.H. would experience frustration. Analyzing what he believed

  were two poor choices, the hearing officer actually chose the more restrictive one,

  the CDC, and not the less restrictive one, NPMM.

  27.   Nor did the hearing officer appreciate that a segregated environment of the

  CDC is not an appropriate default where the regular education program has proved

  difficult. To the contrary, a “continuum” of placements must be considered with the

  goal of maximizing the interaction of disabled children with non-disabled. See, e.g.,

  Oberti v. Bd of Educ., 995 F.2d 1204 (3rd Cir. 1993) (segregating child with Down

  syndrome from non-disabled peers not appropriate).

  28.   Additionally, the hearing officer relied for his decision upon an unreported

  case outside of Tennessee and the Sixth Circuit, J.H. v. Fort Bend Indep. Sch. Dist.,

  482 Fed. Appx. 915 (5th Cir. 2013). In J.H., the Court specifically stated: “This

  opinion should not be published.”3

  29.   In sum, the hearing officer failed to apply the appropriate legal standards for

  segregating a child with disabilities from the regular classroom. Thus, the hearing



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        Even so, in J.H., a 14 year old child with an IQ of 48, and functioning below
  L.H., was actually included in the regular education classroom and received pull-out
  instruction where needed—an “incremental approach.”
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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 9 of 35 PageID #: 224
  officer erroneously determined that removing L.H. from his neighborhood school

  (NPMM) and placing him in a Comprehensive Development Classroom (CDC) at

  Red Bank Elementary was appropriate when, in fact, and by law, it is not.

  30.   The hearing officer’s order was entered December 20, 2013.         Accordingly,

  Plaintiffs have exhausted administrative prerequisites and this legal action is both

  necessary and ripe.

                                     IV.    FACTS

                             Down Syndrome and Learning

  31.   Children with Down syndrome learn differently.            The development of

  children with Down syndrome is characterized by several alternating periods of

  advances, followed by periods of plateau. For this reason, then, HCDE should not

  have expected a single growth curve that is characteristic of typically developing

  children.

  32.   With a proper understanding of Down syndrome, which L.H.’s parents

  attempted to provide HCDE through a child development expert, L.H. is actually a

  capable and high functioning child with an Intellectual Disability.

  33.   For example, in terms of his IQ, L.H. has been classified as having “mild

  intellectual disability,” e.g. “mild mental retardation” which is defined as IQ scores

  in the range of 50-69.

  34.   Psychological testing also reveals that L.H. scored near the mean (mean

  being 100) in these areas:      Reading (96) and broad reading composite (82).

  Additionally, L.H.’s scores in spelling (75), writing (78) and academic skills (76)



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 10 of 35 PageID #: 225
  were tested to be between one and two standard deviations from the mean. Thus,

  these tests demonstrate achievement above what would be expected for someone

  with his intellectual disability.

  35.   Additionally, L.H. benefits greatly from social interaction and modeling from

  his non-disabled peers.

                  Inclusion of L.H. at NPMMA—His Neighborhood School

  36.   L.H.’s home, zoned, neighborhood school is Normal Park Museum Magnet

  (NPMM). In fact, L.H.’s parents had built a home in the NPMM jurisdiction just so

  that he could be educated there.

  37.   HCDE accepts federal money under IDEA. As a condition to receiving such

  money, the Individuals with Disabilities Education Act (IDEA) requires each school

  district and state agency to restrict the use of “special classes, separate schooling, or

  other removal of children with disabilities from the regular educational

  environment.” “Unless the IEP of a child with a disability requires some other

  arrangement, the child is educated in the school that he or she would attend if

  nondisabled.”    34 C.F.R. §§ 300.114-16. In other words, L.H. is presumptively

  entitled to school in his neighborhood school of NPMMA.

  38.   Local Education Agencies must also insure that a continuum of alternative

  placements is available to meet the needs of students with disabilities for special

  education and related services.        The continuum required must include the

  alternative of instruction in regular classes and must make provision for




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 11 of 35 PageID #: 226
  supplementary services to be provided in conjunction with regular classroom

  placement. 34 C.F.R. §300.115.

  39.   A child with a disability is not to be removed from education in age-

  appropriate regular classrooms solely because of needed modifications in the

  general curriculum. 34 C.F.R. § 300.116.

  40.   Additionally, and importantly, under the IDEA, 20 U.S.C. §§ 1414(a)(1)(C)(i),

  1413(a)(3) and 34 C.F.R. § 300.156, state and local education agencies have a duty

  to ensure that their personnel are appropriately and adequately prepared and

  trained for serving children with disabilities.

  41.   L.H.’s social interactions are important to him, as are friendships. He has

  good social awareness, acting appropriately in social situations. He enjoyed dozens

  of friends at NPMM.

  42.   L.H. also has good language skills for interaction with others. His peers at

  NPMM enjoyed his company, accepted him, and provided help at times when it is

  necessary.

  43.   As a child development expert explained, L.H. is very advanced compared to

  other children with intellectual disabilities.

  44.   L.H. attended NPMM in Hamilton County (2009-2013) for kindergarten and

  first grade. He repeated first grade.

  45.   In 2011-2012, L.H. enjoyed an experienced professionally-licensed teacher

  and an experienced special educational assistant (paraprofessional) who provided

  him with an appropriate education that resulted in L.H.’s progression through four



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 12 of 35 PageID #: 227
  reading levels. By the end of the school year, L.H. could add and subtract to 20 with

  manipulatives.   He showed satisfactory progress in Science, Social Studies and

  Related Arts (Art, Music and Gym).

  46.   After the 2011-2012 school year, L.H.’s IEP for the 2012 – 2013 school year

  was developed and signed by eight HCS employees who agreed (checked “Yes” on

  the IEP) that he was academically prepared to enter second grade.

  47.   In sum, L.H. is a child with an intellectual disability, who can, and should, be

  educated in his regular, neighborhood school with non-disabled peers, along with

  appropriate supports and pull-outs where necessary.

  48.   As L.H. entered second grade for the 2012 – 2013 school year, NPMM

  assigned L.H. a second-grade regular education teacher who, unfortunately, simply

  lacked experience providing educational programming to a child with Down

  syndrome. Unfortunately, this teacher mistakenly believed that L.H. must perform

  at the level of a “typical second grader” in order to receive a meaningful benefit and

  to pass the grade.    As a result, she governed L.H. by an impermissibly high

  standard in order for L.H. to remain in the regular classroom at NPMM.

  49.   The regular education teacher needed the assistance of a resource, or special

  education teacher, who actually had experience with Down syndrome and its unique

  learning profile. However, NPMM assigned L.H. a special education teacher who

  lacked any experience with Down syndrome either.




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 13 of 35 PageID #: 228
  50.   Upon information and belief, L.H. was actually the first child with Down

  syndrome to be educated at NPMM. As a result, his learning profile was not only

  misunderstood but their beliefs were actually harmful to L.H.

  51.   NPMM had constructed a formal discipline chart of L.H. through a seven-

  factor behavior chart.4     But this chart actually showed that L.H. remained

  “following rules and on task” 87% of the time, as documented by HCDE.

  52.   The special education teacher, too, harbored a misunderstanding that her job

  was to “close the gap between L.H.’s levels of performance and the rigorous

  expectations of the second grade regular education curriculum….”       With such a

  goal, she came to the conclusion that inclusion was “futile.”

  53.   HCDE does provide its teachers training on the proper goals of “inclusion.”

  This training, which included PowerPoint slides, makes plain that the focus must

  be individualized, not based upon the performance of a “typical second grader”:

               a. The IEP team “must decide which and how many general

                  curriculum objectives are to be taught.”

               b. The IEP team “must make general curriculum objectives functional

                  and meaningful for this student.”

               c. “Goals may be different [for the disabled student with an IEP] but

                  need to be related (like learning to recognize a triangle when others

                  are learning the angles in a triangle)”




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         Upon information and belief, such a behavior chart was not used with any
  other student at NPMM.
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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 14 of 35 PageID #: 229
                 d. Least Restrictive Environment: “Starts with the assumption the

                   student will be in the general classroom, with supports as needed.

                   If that won’t work full time, pull the child out of the general

                   classroom for part of the day for therapies or resources.      This

                   should be done as seldom as possible. Only if all other options fail

                   should the child be separated from the general classroom.”

  54.   Not only did L.H. have regular and special education teachers unfamiliar

  with Down syndrome, NPMM removed L.H.’s “special education assistant”

  (paraprofessional) and provided him a revolving door of three “ancillary

  attendants.”

  55.   In 2013, without the parents’ knowledge or approval, and without convening

  an IEP meeting, L.H.’s teacher and special education teacher disregarded some of

  the goals set forth in L.H.’s IEP and began instructing him differently than his IEP

  was written and intended.

  56.   While limited teacher modification to assignments was contemplated, the

  actions of the Defendant were to teach a different curriculum and to disregard the

  IEP in a broad fashion. This action constitutes a procedural violation of the IDEA

  (and related state standards) in that Defendant “began using a kindergarten level

  curriculum” without first using the IEP Team process for such a significant change.

  57.   Additional procedural violations occurred, in 2013, when NPMM conducted

  private pre-IEP meetings which excluded the parents and pre-determined the

  outcome of IEP meetings.



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 15 of 35 PageID #: 230
                      Segregation Away from Regular Education

  58.   At a mid-year IEP review in February of 2013, requested by L.H.’s parents,

  HCDE advised L.H.’s parents that, in its opinion, L.H. needed to be removed from

  the regular classroom at NPMM and segregated to a CDC program located at Red

  Bank Elementary, a Title I school which was neither his neighborhood school nor

  the school he would attend had he lacked a disability.

  59.   L.H. has the great fortune of having a Cub Scout den leader and coach of his

  little league baseball team, Darrell Meece, who also has a Ph.D. in child

  development from Auburn University.

  60.   Dr. Meece, a professor in the School of Education at the University of

  Tennessee at Chattanooga (UTC), teaches courses on child development and has

  worked with children with Down syndrome. Therefore, L.H.’s parents arranged for

  Dr. Meece to assist HCDE in understanding Down syndrome—particularly since

  NPMM had never, to their knowledge, previously educated a child with Down

  syndrome and, certainly, L.H.’s teachers had not.

  61.   Dr. Meece attended multiple IEP team meetings, up through May of 2013,

  with the hope of providing the input and education about Down syndrome.

  62.   For example, Dr. Meece advanced studies showing that children with Down

  syndrome, particularly with mild intellectual disabilities like L.H., perform better

  in integrated environments, not segregated environments. Moreover, Dr. Meece

  attempted to explain that placement of children with Down syndrome in segregated




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 16 of 35 PageID #: 231
  environments is actually harmful to their development, as children, in terms of

  communication, literacy, and social skills.

  63.      However, HCDE, and NPMM in particular, deliberately chose to ignore these

  studies and evidence at its own peril.

  64.      Instead, believing that L.H. must “perform[] at a level of a typical second

  grader,” and not as a child with an Intellectual Disability with a unique learning

  profile who is attempting to meet IEP goals, HCDE contended that L.H.’s

  continuation in the regular education classroom was “futile.”

  65.      This conclusion contradicts the professional literature, the profile of Down

  syndrome, and the high functioning abilities of L.H. It suggests NPMM has deemed

  itself   incapable—and/or      unwilling—to    perform   the   sometimes-difficult   but

  necessary work of inclusion in a least restrictive environment with appropriate

  supports.

  66.      In fact, L.H. remained capable of receiving educational benefit at NPMM—

  his IQ showed it, his psychological tests showed it, and his behavior showed it.

  And, by contrast, he would receive a loss of educational benefit by being segregated

  at Red Bank.

  67.      On or about May 10, 2013, HCDE gave notice to L.H.’s parents that L.H.

  should be placed in an “alternative setting” with an “alternative curriculum” and a

  “highly structured setting.”

  68.      According to HCDE, it was no longer even possible to educate L.H. at NPMM.




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 17 of 35 PageID #: 232
  69.   In May of 2013, HCDE proposed an IEP for L.H. which concluded that

  “[L.H.’s] IEP can’t be implemented in his home-zoned school.”

  70.   The IEP, which NPMM intended to be implemented at Red Bank, would

  remove L.H. from his zoned school, from his peers and friends (dozens developed

  over four years), and place him in a segregated special education classroom at Red

  Bank Elementary.

  71.   Red Bank Elementary had failed to meet No Child Left Behind standards for

  three consecutive years.

  72.   The IEP for Red Bank Elementary, proposed by HCDE, was not tied to a

  general education curriculum for any particular grade. In fact, the proposed IEP

  would reduce L.H.’s minutes of academic instruction from 5.5 hours per day to 3.

  This 3 hours of instruction is less than what the State of Tennessee recommends

  even for non-disabled students who are experiencing academic difficulties.

  73.   Additionally, the proposed IEP contained no goals for Science or for Social

  Studies even though L.H. had received “satisfactory” on both subjects.          The

  proposed IEP included 3 hours of “Related Arts,” but that consisted of 30 minutes of

  lunch, 30 minutes of recess, and two hours per day of art, music, and gym. This IEP

  reduced L.H.’s instruction in English Language Arts by 60 minutes to give him a

  second hour each day of art, music and gym. (Students without disabilities

  generally receive one hour per day of such Related Arts. And upon information and

  belief, non-disabled students at Red Bank Elementary and elsewhere simply do not

  receive 2 hours per day of art, music and gym.)



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 18 of 35 PageID #: 233
  74.   Instead of general education curriculum, as at NPMM, the proposed IEP

  required “alternative curriculum.” However, this alternative curriculum, the on-line

  “Unique Learning System,” has never been peer-reviewed. See § 300.320(a)(4)

  75.   As a student in the CDC setting, L.H. would no longer receive a Report Card

  that tracked his progress to any state educational standard.

  76.   In addition, adherence to the proposed IEP at Red Bank’s “alternative

  curriculum” would mean that L.H. would not receive the appropriate level of

  interaction with non-disabled cohorts, but instead would receive interaction with

  approximately nine (9) other students with disabilities in the CDC setting. The

  proposed IEP at Red Bank would have resulted in L.H. having only 1.5 hours per

  day of exposure to his non-disabled peers compared to the 6.0 hours per day he

  enjoyed at NPMM.

  77.   Moreover, the CDC class for 3rd – 5th-grade students at Red Bank does not

  require homework of its students while students in the regular education setting

  have homework assignments beginning in Kindergarten.

  78.   The principle purpose of CDC at Red Bank, according to its special education

  teacher, is to help children “function when they age out of the system.” In fact,

  HCDE’s proffered expert stated of the CDC curriculum:          “[it is] an alternative

  curriculum, and there is not a diploma available in that curriculum.”

  79.   Accordingly, the CDC is not designed to provide an education that allows for

  the possibility of children, including children with Down syndrome, to graduate




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 19 of 35 PageID #: 234
  with a regular high school diploma. In fact, academic progress is not even formally

  measured or analyzed.

  80.   Additionally, the proposed IEP for L.H. did not include any goals for

  progression in Reading or Math, it included no goals for Science and Social Studies,

  and no documented link to a curriculum.

  81.   L.H.’s parents refused the school’s ultimatum of CDC at Red Bank. 5 Because

  the placement in a CDC classroom was inappropriate, L.H.’s parents had to seek, at

  their own expense, an alternative placement at the Montessori School of

  Chattanooga where he now enjoys a regular education setting following a defined

  general education curriculum with non-disabled peers for 7 hours per day and is

  receiving FAPE. Accordingly, costs and expenses for educating L.H. have been at

  the parents’ own expense, for which they must seek reimbursement.

  82.   L.H. can receive (and for a time did receive) a meaningful educational benefit

  through inclusion at NPMM.      By contrast, Defendant’s refusal to continue this

  placement and, instead, place him in a CDC environment, a most restrictive

  environment, would be harmful and regressive to L.H.

  83.   While a CDC environment is appropriate for some students, it is not

  appropriate for L.H.    Indeed, it is regressive to L.H. because it denies him the

  appropriate inclusion, it denies him appropriate association with non-disabled

  peers, denies him his friends developed over the years, and it denies him important



  5     “Ultimatum” because HCDE informed the parents that an IEP could not be
  implemented at NPMM and the IEP it proposed was for Red Bank and an
  alternative curriculum.
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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 20 of 35 PageID #: 235
  expressive language skills. The CDC setting does not allow for the formation and

  maintenance of relationships with children without disabilities, nor does it provide

  any benefit to non-disabled children in being exposed to students with intellectual

  disabilities such as Down syndrome.

                Statistical Failure of Inclusion in Hamilton County Tennessee

  84.    Unfortunately, there is a strong discrepancy between the placement of

  children with intellectual disabilities outside the regular education classroom in

  Hamilton County, Tennessee schools in comparison to the rest of the United States.

  85.    Open records requests revealed that Hamilton County has approximately

  42,000 students in its schools. Of those, 285 are classified as having an “intellectual

  disability.” Of those, only 15 students with intellectual disabilities, which represent

  5%, are placed in the regular classroom at least 80% of the time. L.H. was one of

  those fifteen until HCDE planned his removal. By contrast, nationally, 17.4% of

  students with Intellectual Disabilities are placed in the regular classroom at least

  80% of the time.

  86.    Similarly, only 12% of students with Intellectual Disabilities in Hamilton

  County (a total of 36 students) are in the regular education classroom more than

  40% (3+ hours) of the day. By comparison, an average of 44.1% of students with

  Intellectual Disabilities are in the regular education classroom more than 40% of

  the time nationally.

  87.    Plaintiffs made known this discrepancy to HCDE which ignored the

  statistics.



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 21 of 35 PageID #: 236
  88.   HCDE subjected L.H. to what amounts to a consistent exclusion of children

  with intellectual disabilities from regular education classrooms with appropriate

  accommodations and modifications and adequate supplemental aids and services,

  instead insisting that he be placed in a most restrictive environment with no

  homework, no report cards, and no academic accountability.

        V.    FAILURES BY THE SEA, THE TENNESSEE DEPARTMENT OF
                               EDUCATION


  89.   The foregoing facts are incorporated herein.

  90.   Under the IDEA, the Tennessee Department of Education, the “State

  Educational Agency (SEA),” has general supervisory responsibility for the overall

  provision of special education services within the state. 20 U.S.C. §§1412(a)(11)(A);

  1401(32).   The IDEA envisions that each state will devise its own system for

  providing special education services through “Local Education Agencies” (LEAs). 20

  U.S.C. §1401(19).

  91.   Tennessee elected to participate in IDEA by adopting a state plan and

  statutes and accepting federal funds.

  92.   Similarly, Tennessee has accepted federal funds under Section 504 (thus

  waiving any claim of sovereign immunity, 42 U.S.C. §2000d-7).

  93.   SEA’s Denial of Resolution Opportunity. Under the IDEA and regulations

  from the United States Department of Education, the SEA must afford two

  opportunities for challenges to the identification, evaluation, provision of FAPE, or

  placement of a child with a disability:        a state “due process hearing,” 20



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 22 of 35 PageID #: 237
  U.S.C.§1415(b)(6)(A); and a less formal and less adversarial proceeding directly

  through the SEA. 24 C.F.R. §§300.151-153. Both opportunities are to be available

  to claimants to obtain compliance with the IDEA. In fact, the SEA must make an

  “independent determination” as to whether the public agency is violating a

  requirement of the IDEA. 34 C.F.R. §300.152(a)(4).

  94.   However, the SEA maintains that due process hearings before an

  administrative hearing officer are the sole avenue available for redress through the

  state. Absent success with the LEA in a “resolution meeting” (which failed in this

  case), this necessarily results in an expensive, adversarial process with the LEA .

  The SEA was required to afford L.H. and his parents the opportunity for less

  expensive and adversarial avenue, involving the SEA, to address issues of inclusion,

  least restrictive environment, placement and programming and it did not do so. As

  a result, L.H. and his parents were required to undergo, at significant expense, a

  lengthy and adversarial due process hearing and, now, to retain legal counsel to

  challenge that hearing in this federal court.

  95.   The SEA has recently taken the (illegal) position, in writing, that it “cannot

  examine the substantive aspects of [an] IEP as it relates to the provision of a FAPE,

  as the IDEA specifically assigns resolution of disputed issues regarding

  identification, evaluation, educational placement or the provision of FAPE to the

  due process hearing procedures at 34 CFR 300.507.” Accordingly, declarative and

  injunctive relief is necessary to force the SEA to abide by federal law with respect to

  Complaint resolution opportunities.



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 23 of 35 PageID #: 238
  96.    SEA’s Systemic and Individual Failure to Monitor FAPE. Upon information

  and belief, more than 60% of students with intellectual disabilities in Tennessee,

  spend more than 60% of each day in an alternative, segregated setting of special

  education (at least 4,446 of 7,312 students). The LEA unilaterally intended this

  result for L.H. too.

  97.    When this occurs, these students are denied access to, and instruction in, the

  state-approved general education curriculum. In the present case, the decision to

  segregate L.H. was being made as early as second grade.

  98.    A “CDC” environment in Hamilton County, where L.H. was to be unilaterally

  placed by NPMM, has hardly ever, if ever at all, resulted in a regular high school

  diploma when the student spends more than 50% of his/her day in the CDC

  classroom.     Thus,   such placements—which are not the least restrictive

  environment—have a significant future impact on the child’s educational outcome.

  99.    Students in segregated environments like CDC, do not receive report cards or

  grades that measure progress toward a state standard. Indeed, the Response to

  Intervention and Instruction (RTI2) is a “general education framework” that is not

  made available to students who fall outside the regular education setting.

  Moreover, these students are denied accommodations and modifications that would

  allow them to be successful in the general education curricula, and denied access to

  progress-monitoring toward grade level progression.

  100.   Additionally, the “Tennessee Promise” grants full tuition to a community

  college for high school graduates in Tennessee. The proposed actions by NPMM of



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 24 of 35 PageID #: 239
  placing L.H. in a CDC, and the failure to take any action by the SEA, would have in

  all likelihood denied him the opportunity to graduate, given that he would not be

  receiving report cards, taking tests, or placed on track to graduate with a diploma.

  101.   The alternative curriculum in the segregated setting of CDC, as proposed for

  L.H., is known as the “Unique Learning System,” which, upon information and

  belief, has never been peer reviewed, as required by law.      The SEA has stated, in

  writing, that it “does not have a list of alternative curriculum programs nor do we

  evaluate the alternative curricula.” It further states that “[l]ocal agencies have

  discretion and local control regarding curriculum decisions.” In other words, the

  State has taken a hands-off approach to oversight of alternative curriculum in

  derogation of its responsibility.

  102.   As a result of this approach, there is substantial inconsistency in segregation

  rates of children with intellectual disabilities among Tennessee counties, rates

  which reflect the aforementioned lack of oversight, monitoring, and instruction by

  the SEA.     In short, the statistical probability of a child with an intellectual

  disability, like L.H., of receiving inclusion in regular education is wildly inconsistent

  within Tennessee Counties.

  103.   The SEA has also failed to monitor, and prevent, the LEA from succumbing

  to a conflict of interest between federal “Race to the Top” (RTT) and No Child Left

  Behind, on the one hand, with their heavy focus on standardized testing, and

  inclusion of children, like L.H., with intellectual disabilities, on the other hand.

  With emphasis on meritocratic testing of RTT, LEAs such as NPMM face a



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 25 of 35 PageID #: 240
  monetary disincentive to include children with intellectual disabilities. RTT, for

  example, focuses heavily upon the results of standardized testing of students in

  order to receiving funding, while persons with a high-needs intellectual disability

  will adversely affect such scores. Thus, schools are monetarily incentivized with

  excluding high-need students with intellectual disabilities, such as L.H., in order to

  achieve higher scores and, thus, more funding—a conflict and reality the SEA has

  simply not monitored and policed.          Recent statistics from the Tennessee

  Department of Education show a substantial trend of declining enrollment of

  students with disabilities under IDEA at NPPM. Indeed, in the present case, the

  LEA demanded L.H.’s performance be on par with second graders who lacked

  intellectual disabilities in order to remain included and, when the LEA, NPPM,

  believed he could not make that level, it determined he should be removed to CDC.

                       VI.    LEGAL CLAIMS AGAINST HCDE

                COUNT ONE:          TENNESSEE CODE VIOLATIONS:

  104.   The foregoing facts are incorporated herein and restated.

  105.   In Tennessee, under Tenn. Code Ann. 49-10-101: “It is the policy of this state

  to provide, and to require school districts to provide, as an integral part of free

  public education, special education services sufficient to meet the needs and

  maximize the capabilities of children with disabilities.” Tenn. Code Ann. § 49-10-

  101.




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 26 of 35 PageID #: 241
  106.   Moreover, “to the maximum extent practicable, children with disabilities

  shall be educated along with children who do not have disabilities and shall attend

  regular class.” Tenn. Code Ann. § 49-10-103(c)(1).

  107.   “An assurance that to the maximum extent appropriate, children with

  disabilities, including children in public and private facilities, are educated with

  children without disabilities. Special classes, separate schooling or other removal of

  children with disabilities from the general educational environment occurs only if

  the nature or severity of the disability is such that education in the general

  education classes with the use of supplementary aids and services cannot be

  achieved satisfactorily.” Chapter 0520-01-09-.09(l)(5) Special Education Programs &

  Services, TN Rules of State Board of Education.

  108.   HCDE violated state law by refusing to educate L.H. in his least restrictive

  environment, by changing his curriculum without parental notice, predetermining

  placement, and demanding the most restrictive environment of the CDC away from

  his zoned school. HCDE ignored its own training on inclusion and least restrictive

  environment. The parents are entitled to a FAPE in an inclusive setting and/or

  payment of his appropriate education the parents have been forced to obtain at

  their own costs. They also seek all expenses and their reasonable attorneys fees.

                         COUNT TWO: VIOLATION OF IDEA

  109.   The foregoing facts are incorporated herein and restated.

  110.   L.H. needs special education (“specially designed instruction,” per 34 C.F.R. §

  300.39) and related services either inside or outside the classroom including



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 27 of 35 PageID #: 242
  “supplemental aids and services.” 34 C.F.R. § 300.42 (“supports that are provided in

  regular education classes, other education-related settings, and in extracurricular

  and nonacademic settings, to enable children with disabilities to be educated with

  nondisabled children to the maximum extent appropriate”); see also 34 C.F.R. §

  34(a).

  111.     L.H. has a right to an Individualized Education Plan (IEP) and an

  educational setting to “meet the child’s needs that result from the child’s disability

  to enable the child to be involved in and make progress in the general education

  curriculum (i.e., the same curriculum as for nondisabled children).” 34 C.F.R. §

  300.320(a)(2)(i)(B).

  112.     The actions of HCDE unnecessarily denied L.H. his right to special

  education, in an inclusive environment, with non-disabled peers, and with

  appropriate supplemental aids and supports.

  113.     HCDE committed procedural violations including:        (a) altering an IEP

  without an IEP meeting, (b) holding meetings on education and placement without

  the parents, and (c) predetermining alternative placement.

  114.     HCDE’s demand for CDC placement in a non-peer reviewed program was not

  appropriate.    Special education services and supports can be provided in an

  integrated setting at L.H.’s zoned school of NPMM. See, e.g., Roncker v. Walter, 700

  F.2d 1058 (6th Cir. 1983)(involving mental retardation); Oberti v. Bd of Ed., 995

  F.2d 1204 (3d Cir. 1993)(involving Down syndrome).




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 28 of 35 PageID #: 243
  115.   HCDE’s IEP for Red Bank Elementary was not appropriate or necessary. It

  was not appropriate because it removed academic instruction and substituted too

  heavily the “related arts” of lunch, gym, music and art.         It was not necessary

  because NPMM is legally incorrect in insisting that L.H. could not be educated at

  NPMM and that he must be transferred to Red Bank Elementary’s CDC.

  116.   Accordingly, Defendant must be ordered to provide FAPE in the least

  restrictive environment and to reimburse Plaintiffs for their appropriate private

  placement of L.H., necessitated by Defendant’s actions, along with their costs, and

  attorneys fees.


               COUNT THREE: VIOLATION OF TITLE II OF THE ADA


  117.   The foregoing facts are incorporated herein and restated.

  118.   Plaintiffs reallege and incorporate by reference the foregoing facts.

  119.   Title II of the ADA covers programs, activities, and services of public entities.

  120.   Hamilton County Department of Education is a public entity because it is a

  state or local government or a department or instrumentality of a State or local

  government.

  121.   Title II of the ADA prohibits discrimination against any "qualified individual

  with a disability."

  122.   A public entity is required to "make reasonable modifications in policies,

  practices,   or   procedures when the       modifications are necessary        to   avoid

  discrimination on the basis of disability, unless the public entity can demonstrate


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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 29 of 35 PageID #: 244
  that making the modifications would fundamentally alter the nature of the service,

  program, or activity." 28 C.F.R. § 35.130(b)(7) (emphasis added).

  123.   Refusing to educate L.H. in his least restrictive environment, and stating

  that his “IEP can’t be implemented in his home-zoned school,” with reasonable

  modifications, was undertaken in deliberate indifference to his rights under the

  ADA.

  124.   Placement of L.H. in a CDC setting where access to the general education

  curriculum is denied, where educational progress towards graduation is not even a

  possibility, violates the ADA. See. e.g., 28 U.S.C. § 35.130(b)(iii) which prohibits

  discrimination by any public entity that “provide(s) a qualified individual with a

  disability with an aid, benefit, or service that is not as effective in affording equal

  opportunity to obtain the same result, to gain the same benefit, or to reach the same

  level of achievement as that provided to others.”

  125.   With HCDE insisting that it cannot educate L.H. in his home school, and

  insisting upon an alternative placement at Red Bank, Plaintiffs have been forced to

  list and sell their home in order to pay and fund L.H.’s educational needs.

  126.   Plaintiffs seek monetary damages against HCDE to include the emotional

  distress, humiliation, embarrassment suffered by L.H., and his parents, due to the

  Defendants’ deliberate actions and inactions. They seek reasonable attorneys’ fees

  for due process and this suit.

                         COUNT FOUR: VIOLATIONS OF 504

  127.   The foregoing facts are incorporated herein and restated.



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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 30 of 35 PageID #: 245
  128.   HCDE receives federal funding assistance and is therefore also covered by

  504.

  129.   Under a regulatory provision implementing Title II of the ADA, and similar

  to “reasonable accommodations,” [a] public entity shall make reasonable

  modifications in policies, practices, or procedures when the modifications are

  necessary to avoid discrimination on the basis of disability, unless the public entity

  can demonstrate that making the modifications would fundamentally alter the

  nature of the service, program, or activity. 28 C.F.R. § 35.130(b)(7) (2001)(emphasis

  added).

  130.   Moreover, public schools must design programs for students with disabilities

  to meet their "individual educational needs . . . as adequately as the needs of non[-

  disabled] persons are met." 34 C.F.R. § 104.33(b)(1)(i).

  131.   Defendants acted with deliberate indifference, bad faith, gross misjudgment

  and/or with intentional discrimination to L.H.’s rights under 504 by insisting upon

  segregation of L.H. and by providing him separate or different schooling than his

  zoned neighborhood school with appropriate modifications.

  132.   Plaintiffs seek FAPE, along with monetary damages from Defendant to

  include out-of-pocket expenses for the private tuition, damages suffered, out-of-

  pocket expenses, and damages for the emotional distress, humiliation, and

  embarrassment suffered by L.H., and his parents, due to the Defendant’s deliberate

  actions and inactions. They seek attorneys’ fees and costs.




                                            31

Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 31 of 35 PageID #: 246
         VII.   CLAIMS AGAINST TENNESSEE DEPARTMENT OF EDUCATION

                          COUNT ONE: VIOLATION OF IDEA

  133.     The SEA, Tennessee Department of Education, has failed to monitor and

  assure compliance of the LEA with the IDEA as set forth more fully hereinabove. 20

  U.S.C. §1415(f); §1412(a)(11).

                          COUNT TWO: VIOLATION OF ADAAA

  134.     The ADAAA is a comprehensive civil rights and equal opportunity statute.

  Congressional findings indicate that the area of education is within its scope—

  “discrimination against individuals with disabilities persist in such critical areas as

  … education…” 42 U.S.C. 12101(a)(3). The SEA has failed to ensure that L.H.

  remained entitled to an education at his home-zoned school, with appropriate

  reasonable modifications, in order to avoid discrimination based upon his

  intellectual disability, in violation of the Americans with Disabilities Act, with

  Amendments (ADAAA). L.H. is entitled to have access to the general education

  curriculum, so he has the opportunity to make progress toward a diploma and not

  be denied access to programs like Tennessee Promise through a CDC placement.

  See, e.g. 28 U.S.C. §35.130(b)(iii).   The educational programming which NPPM

  planned to deliver solely through the CDC environment is separate, unnecessary,

  and discriminatory to L.H. Such segregation to an inferior facility, without equal

  access to education, clearly violates the ADAAA.         Accordingly, Plaintiff seeks

  appropriate injunctive relief under the ADAAA.




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 32 of 35 PageID #: 247
                        COUNT III: VIOLATION OF SECTION 504

  135.   Similarly, [a] public entity shall make reasonable modifications in policies,

  practices,   or   procedures when the      modifications are necessary    to   avoid

  discrimination on the basis of disability, unless the public entity can demonstrate

  that making the modifications would fundamentally alter the nature of the service,

  program, or activity. 28 C.F.R. § 35.130(b)(7) (2001)(emphasis added). The

  educational programming which NPPM planned to deliver solely through the CDC

  environment is separate, unnecessary, and discriminatory to L.H.       Accordingly,

  Plaintiffs seek appropriate injunctive relief and damages under Section 504.


     WHEREFORE, premises considered,

  136.   Plaintiffs request process be served, that Defendants be compelled to timely

  answer, that Plaintiffs be awarded the legal and injunctive relief set forth

  hereinabove, its attorneys’ fees, and costs.

  137.   Plaintiffs also request a jury where available.




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Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 33 of 35 PageID #: 248
                         Respectfully Submitted,


                         GILBERT RUSSELL McWHERTER
                         SCOTT BOBBITT, PLC


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                                       34

Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 34 of 35 PageID #: 249
                            CERTIFICATE OF SERVICE

        I hereby certify that on November 25, 2014, I served a copy of the foregoing
  document upon D. Scott Bennett, attorney for Defendant, Hamilton County
  Department of Education, by mailing a copy of the same through the United States
  mail in a properly addressed envelope with sufficient postage affixed to reach its
  destination:

                                   D. Scott Bennett
                    Leitner, Williams, Dooley & Napolitan, PLLC
                            801 Broad Street, Third Floor
                           Chattanooga, Tennessee 37402


                           _s/Justin S. Gilbert____________________




                                          35

Case 1:14-cv-00126-CLC-SKL Document 22 Filed 11/25/14 Page 35 of 35 PageID #: 250
